             Case 2:18-bk-20548-SK                    Doc 87      Filed 03/30/22        Entered 03/30/22 15:50:52                           Desc
KATHY A. DOCKERY                                                    Page 1 of 3                                     BANKRUPTCY PAYMENT ADDRESS
CHAPTER 13 TRUSTEE                                                                                                       KATHY A. DOCKERY
801 S. FIGUEROA ST., SUITE 1850
                                                                                                                        CHAPTER 13 TRUSTEE
LOS ANGELES, CA 90017
                                                                                                                            P.O. BOX 691
PHONE: (213) 996-4400
                                                                                                                       MEMPHIS, TN 38101-0691
FAX: (213) 996-4426


                DEBTOR'S STATUS REPORT AND NOTICE OF INTENT TO PAY CLAIMS AS OF MARCH 29, 2022
                                              Christopher D. Campos                 Rina Marie Campos

                                                         Case Number LA18-20548-SK




             Christopher D. Campos
             Rina Marie Campos
             122 N Encinitas Ave Unit A
             Monrovia, CA 91016




                                           IMPORTANT - Bankruptcy Court Requirements
Income Tax Returns: The Bankruptcy Court has ordered you to send a copy of your tax returns to the Chapter 13
Trustee. If you have not already done so, please mail a copy of your tax returns to the Chapter 13 Trustee Office
within 10 days of mailing them to the Internal Revenue Service.

TAX REFUNDS: You must send your tax refunds to the Chapter 13 Trustee, unless otherwise ordered by the
Court If your tax refund has not been directly sent to the Chapter 13 Trustee, you must endorse the tax refund check
payable to the Chapter 13 Trustee. Put your name and case number on the tax refund check and mail your tax
refund to the Chapter 13 Trustee’s bankruptcy payment lock box.                            $6,370.98




                          YOUR BANKRUPTCY PAYMENTS AS OF MARCH 29, 2022 ARE $11,798.02
     Date     Amount              Date       Amount             Date      Amount                       Date      Amount           Date       Amount

  10/23/18    $300.00          11/30/18      $150.00           12/13/18   $300.00            12/17/18            $150.00         1/23/19        $6.00
   1/30/19    $300.00           2/27/19      $300.00            3/28/19   $300.00                      5/17/19   $300.00         6/19/19      $300.00
   7/19/19    $300.00           8/23/19      $300.00           11/14/19   $500.00                      1/22/20   $300.00           5/1/20     $300.00
    6/3/20    $300.00             7/1/20     $100.00             8/4/20   $300.00                      8/21/20   $343.00         8/25/20      $158.31
    9/9/20    $158.31           9/22/20      $158.31            10/6/20   $158.31            10/22/20            $158.31          11/3/20     $158.31
  11/17/20    $158.31           12/4/20      $158.31           12/16/20   $158.31                       1/4/21   $158.31         1/12/21      $158.31
   1/27/21    $158.31             2/9/21     $158.31            2/25/21   $158.31                      3/10/21   $158.31         3/23/21      $158.31
    4/7/21    $158.31           4/20/21      $158.31             5/4/21   $158.31                      5/19/21   $158.31           6/2/21     $158.31
   6/16/21    $158.31           6/29/21      $158.31            7/13/21   $158.31                      7/27/21   $158.31          8/11/21     $158.31
   8/25/21    $158.31             9/8/21     $158.31            9/22/21   $158.31                      10/5/21   $158.31        10/20/21      $158.31
  11/16/21    $158.31          11/24/21      $158.31            12/7/21   $158.31            12/15/21            $158.31        12/30/21      $158.31
   1/20/22    $158.31             2/8/22     $158.31            2/16/22   $158.31                      2/24/22   $158.31         3/10/22      $158.31
   3/23/22    $158.31

                    AS OF MARCH 29, 2022, YOUR BANKRUPTCY PAYMENTS ARE DELINQUENT BY $196.98




                            If you have any questions regarding your Debtor Status Report, please consult your attorney.
                                          Your Attorney is: LAW OFFICE OF KEITH F. ROUSE 626-449-4211.
                                            For Online Access to your Case Information, go to: www.ndc.org
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                                                                  NOTICE OF INTENT TO PAY CLAIMS
                                                   CLAIMS AND DISBURSEMENT REPORT AS OF MARCH 29, 2022

You are hereby given notice that the Chapter 13 Trustee will immediately begin disbursing payments to your creditors and other parties in
interest based on your confirmed chapter 13 plan and the order confirming the chapter 13 plan. The Trustee will pay those creditors who
have filed a proof of claim or those secured and priority creditors who have been provided for in your confirmed plan.

If you believe that a creditor has filed an inaccurate or duplicate proof of claim or you believe that a creditor should not have filed a proof of
claim in your case, you must file an Objection to the Proof of Claim. In order to properly prosecute an Objection to a Proof of Claim, please
discuss the matter with your attorney. If you fail to object to the proof of claim within thirty days of the filing of the proof of claim, the
Chapter 13 Trustee will disburse on the claim.

                                         *Interest, late claims or other variables may affect the total amount paid to creditors.
                                                                        Undistributed Funds $284.96
                             AS OF MARCH 29, 2022, TOTAL DISBURSEMENTS PAID TO CREDITORS ARE $11,513.06

 Claim #                          Creditor                                        Claim Type          Scheduled Debt   Claim Amount    Int. Rate     Principal Paid   Int. Paid

DREF Christopher D. Campos                                                                                                                                    $0.00

 ATTY      LAW OFFICE OF KEITH F. ROUSE                                        ATTORNEY FEE                   $0.00           $0.00
           LAW OFFICE OF TYSON TAKEUCHI                                     PRIOR ATTORNEY'S FEE          $3,910.00        $3,910.00                      $3,910.00
   2       ONEMAIN FINANCIAL SERVICES, INC.                               SECURED OMITTED CREDITOR            $0.00           $0.00
           Filed: 03/25/21
           American Medical Collection Agency                                   UNSECURED                   $100.00           $0.00
           AWA COLLECTIONS                                                      UNSECURED                   $450.00           $0.00
           California Accts Svc                                                 UNSECURED                   $251.00           $0.00
           CMRE FINANCIAL                                                       UNSECURED                 $1,184.00           $0.00
           CMRE FINANCIAL                                                       UNSECURED                   $700.00           $0.00
           COLLECTION CONSULTANTS                                               UNSECURED                   $480.00           $0.00
           DON ROBERTO JEWELERS                                                 UNSECURED                 $2,616.00           $0.00
           FIN CR NETWK                                                         UNSECURED                   $149.00           $0.00
           Freeway Towing                                                       UNSECURED                     $0.00           $0.00
           Grant Mercantile Agency                                              UNSECURED                   $248.00           $0.00
           M Leonard & Associates                                               UNSECURED                   $152.00           $0.00
           Progressive Management                                               UNSECURED                   $105.00           $0.00
           Progressive Management                                               UNSECURED                 $3,372.00           $0.00
           Progressive Management                                               UNSECURED                   $754.00           $0.00
           Progressive Management                                               UNSECURED                   $550.00           $0.00
           Progressive Management                                               UNSECURED                   $648.00           $0.00
           Wakefield and Associates                                             UNSECURED                   $956.00           $0.00
   1       ECMC                                                                 UNSECURED                 $4,910.00        $4,990.24
           Filed: 09/27/18
   2       ONEMAIN FINANCIAL SERVICES, INC.                                     UNSECURED                 $4,133.00        $4,148.04
           Filed: 03/25/21
   3       NETCREDIT                                                            UNSECURED                 $1,461.00        $1,461.29
           Filed: 10/10/18
   4       VONS CREDIT UNION                                                    UNSECURED                   $284.00         $279.25
           Filed: 10/12/18
   5       VONS CREDIT UNION                                                    UNSECURED                 $3,147.00        $3,147.20
           Filed: 10/12/18
   6       PRA RECEIVABLES MANAGEMENT LLC                                       UNSECURED                 $8,550.82        $8,550.82
           Filed: 10/29/18
   6       PRA RECEIVABLES MANAGEMENT LLC                                SECURED BY VEHICLE CLASS 3       $9,775.00        $9,775.00     6.00%            $5,143.32    $1,539.58
           Filed: 10/29/18
  TTE      Trustee Fee                                                                                                                                      $920.16




                                             If you have any questions regarding your Debtor Status Report, please consult your attorney.
                                                           Your Attorney is: LAW OFFICE OF KEITH F. ROUSE 626-449-4211.
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                          DEBTOR CHANGEPage
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              Please Complete and Sign this Form if the following Information Changed.
                                                   Christopher D. Campos
                                                    Rina Marie Campos
                                                          LA18-20548-SK




 The undersigned debtor(s) declares under penalty of perjury under the laws of the State of California
 that the above information is true and correct.

 Debtor’s Signature      _______________________             Date______________



 Co- Debtor’s Signature _______________________             Date_______________




                                     FAX THIS FORM TO: (213) 996-4426
                                or EMAIL THIS FORM TO: info@latrustee.com




                      If you have any questions regarding your Debtor Status Report, please consult your attorney.
                                    Your Attorney is: LAW OFFICE OF KEITH F. ROUSE 626-449-4211.
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